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                                                       February 14, 2023

VIA CM/ECF

The Honorable Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


       Re:          United States v. Mark Nordlicht and David Levy
                    No. 1:16-cr-00640-BMC

Dear Judge Cogan:

        We represent David Levy in the above-referenced matter, and write on his behalf and on
behalf of Mr. Nordlicht and the Government to provide the Court with alternative dates for the
loss hearing when all counsel are available. Mr. Levy and his counsel are not available on
March 10th, the date just fixed by the Court, due to previously scheduled commitments.

        Counsel for Mr. Levy, Mr. Nordlicht and the Government are all available on the
following dates (and times) and very much hope that the Court can accommodate one of them for
the loss hearing:

       March 7:                  morning
       March 14:                 afternoon
       March 15:                 afternoon
       March 16:                 morning

                                                               Respectfully submitted,

                                                               WILSON SONSINI GOODRICH & ROSATI
                                                               Professional Corporation

                                                               s/ Michael S. Sommer
                                                               Michael S. Sommer

                                                               Counsel for Defendant David Levy

cc:    All Counsel of Record (via CM/ECF)




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